 

Case 1:20-cr-00454-GBD Document 9 Filed 10/19/20 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against-
URSULA WING,

Defendant.

GEORGE B. DANIELS, District Judge:

 

 

 

 

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ORDER

20 Crim. 454 (GBD)

The status conference scheduled for October 20, 2020 shall occur as a videoconference

using the Skype platform.

To optimize the quality of the video feed, only the Court, counsel for the Government,

Defendant’s counsel, and Defendant will appear by video for the proceeding; all others will
participate by telephone. Due to the limited capacity of the Skype system, only one counsel per
party may participate. Co-counsel, members of the press, and the public may access the audio feed
of the conference by calling (917) 933-2166 and entering the conference ID 562085102.

To optimize use of the Court’s video conferencing technology, all participants in the call

must:

1. Use a browser other than Microsoft Explorer to access Skype for Business;
2. Position the participant’s device as close to the WiFi router as is feasible;
3. Ensure any others in the participant’s household are not using WiFi during the

period of the call;

4. Unless the participant is using a mobile telephone to access Skype for
Business, connect to audio by having the system call the participant;

If there is ambient noise, the participant must mute his or her device when not speaking.
Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of those

 
 

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accessing the conference — whether in listen-only mode or otherwise — are reminded that
recording or rebroadcasting of the proceeding is prohibited by law.

If possible, defense counsel shall discuss the attached Waiver of Right to be Present
at Criminal Proceeding with the Defendant prior to the proceeding. If the Defendant consents, and
is able to sign the form (either personally or, in accordance with Standing Order 20-MC-174 of
March 27, 2020, by defense counsel), defense counsel shall file the executed form prior to the
proceeding. In the event the Defendant consents, but counsel is unable to obtain or affix the
Defendant’s signature on the form, the Court will conduct an inquiry at the outset of the proceeding
to determine whether it is appropriate for the Court to add the Defendant’s signature to the form.

To the extent that there are any documents relevant to the proceeding, counsel should
submit them to the Court (by email or on ECF, as appropriate) prior to the proceeding. To the
extent any documents require the Defendant’s signature, defense counsel should endeavor to get
them signed in advance of the proceeding as set forth above; if defense counsel is unable to do so,
the Court will conduct an inquiry during the proceeding to determine whether it is appropriate for

the Court to add the Defendant’s signature.

Dated: October 19, 2020
New York, New York
SO ORDERED.

CEORGE _ DANIELS
TED STATES DISTRICT JUDGE

 

 
 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

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UNITED STATES OF AMERICA
WAIVER OF RIGHT TO BE
“vo PRESENT AT CRIMINAL
PROCEEDING
Defendant. , -CR- (0)

Check Proceeding that Applies

 

Date:

Entry of Plea of Guilty

| am aware that | have been charged with violations of federal law. | have consulted with
my attorney about those charges. | have decided that | wish to enter a plea of guilty to
certain charges. | understand | have a right to appear before a judge in a courtroom in
the Southern District of New York to enter my plea of guilty and to have my attorney
beside me as | do. | am also aware that the public health emergency created by the
COVID-19 pandemic has interfered with travel and restricted access to the federal
courthouse. | have discussed these issues with my attorney. By signing this document, |
wish to advise the court that | willingly give up my right to appear in person before the
judge to enter a plea of guilty. By signing this document, | also wish to advise the court
that | willingly give up any right | might have to have my attorney next to me as | enter my
plea so long as the following conditions are met. | want my attorney to be able to
participate in the proceeding and to be able to speak on my behalf during the proceeding.
| also want the ability to speak privately with my attorney at any time during the
proceeding if | wish to do so.

 

 

Print Name Signature of Defendant

Sentence

| understand that | have a right to appear before a judge in a courtroom in the Southern
District of New York at the time of my sentence and to speak directly in that courtroom
to the judge who will sentence me. | am also aware that the public health emergency
created by the COVID-19 pandemic has interfered with travel and restricted access to the
federal courthouse. | do not wish to wait until the end of this emergency to be sentenced.

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| have discussed these issues with my attorney and willingly give up my right to be
present, at the time my sentence is imposed, in the courtroom with my attorney and the
judge who will impose that sentence. By signing this document, | wish to advise the court
that | willingly give up my right to appear in a courtroom in the Southern District of New
York for my sentencing proceeding as well as my right to have my attorney next to me at
the time of sentencing on the following conditions. | want my attorney to be able to
participate in the proceeding and to be able to speak on my behalf at the proceeding.

| also want the ability to speak privately with my attorney at any time during the
proceeding if | wish to do so.

Date:

 

 

Print Name Signature of Defendant

| hereby affirm that | am aware of my obligation to discuss with my client the charges against my
client, my client’s rights to attend and participate in the criminal proceedings encompassed by
this waiver, and this waiver and consent form. | affirm that my client knowingly and voluntarily
consents to the proceedings being held with my client and me both participating remotely.

Date:

 

 

Print Name Signature of Defense Counsel

Addendum for a defendant who requires services of an interpreter:

| used the services of an interpreter to discuss these issues with the defendant. The interpreter
also translated this document, in its entirety, to the defendant before the defendant signed it.
The interpreter’s name is:

 

Date:

 

Signature of Defense Counsel

Accepted:

 

Signature of Judge
Date:

 

 
